UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE
-----------------------------------------------------------------------X
JOHNNY M. HUNT,                                                        :
                                                                       :
                                    Plaintiff,                         :
                                                                       :
                  -against-                                            :   Case No. 3:23-cv-00243
                                                                       :
SOUTHERN BAPTIST CONVENTION,                                           :
GUIDEPOST SOLUTIONS LLC, and                                           :
EXECUTIVE COMMITTEE OF THE SOUTHERN                                    :
BAPTIST CONVENTION,                                                    :
                                                                       :
                                    Defendants.                        :
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  RESPONSES AND OBJECTIONS OF DEFENDANT GUIDEPOST SOLUTIONS LLC
     TO PLAINTIFF JOHNNY M. HUNT’S FIRST SET OF INTERROGATORIES

        Defendant Guidepost Solutions LLC (“Guidepost”), by and through its attorneys, Riley &

Jacobson, PLC and Mintz & Gold LLP, hereby responds to Plaintiff Johnny M. Hunt’s First Set

of Interrogatories as follows:

                           GENERAL RESPONSES AND OBJECTIONS

        1.       These responses are made solely for purposes of this action. Each response is

subject to all objections as to competence, relevance, materiality, propriety, and admissibility,

and any and all other objections and/or grounds that would require exclusion of any documents

or portions thereof produced herewith, all of which objections and grounds are reserved and may

be interposed at the time of trial.

        2.       Each response is subject to all objections relating to the allowed scope of

interrogatories pursuant to Rule 33 of the Federal Rules of Civil Procedure.

        3.       These responses are based upon information presently available to Guidepost.

Guidepost is continuing its discovery efforts and accordingly reserves the right at any time to




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revise, correct, add to, or clarify any of the responses set forth herein, consistent with Rule 26(e)

of the Federal Rules of Civil Procedure. The fact that Guidepost has answered part or all of any

request is not intended and shall not be construed to be a waiver by Guidepost of all or any part

of any objections to any request.

        4.     All responses made herein are made subject to the objections stated above and

any further objection specifically stated.

        5.     Guidepost reserves the right to supplement its responses to these interrogatories,

as necessary, up to and including trial.

                                             RESPONSES

        INTERROGATORY NO. 1.                   Identify each individual involved in drafting the
           portions of the Report that involve Johnny Hunt. For each such individual, include the
           person’s relationship to Guidepost, the person’s title, and a description of that
           individual’s role with respect to the Report.

Response:

 Name                               Title                            Role

 Samantha Kilpatrick                Senior Managing Director         Lead investigator for portion
                                                                     of Report related to Plaintiff;
                                                                     drafted portion of Report
                                                                     related to Plaintiff

 Russell Holske Jr.                 Senior Managing Director         Lead investigator for portion
                                                                     of Report related to Plaintiff;
                                                                     drafted portion of Report
                                                                     related to Plaintiff

 Krista Tongring                    Senior Managing Director         Reviewed and edited portion
                                                                     of Report related to Plaintiff

 Julie Myers Wood                   Chief Executive Officer          Reviewed and edited portion
                                                                     of Report related to Plaintiff

 Christina Bischoff                 Subcontractor to Guidepost       Technical writer responsible
                                                                     for assembling and assisting
                                                                     with Report



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         INTERROGATORY NO. 2.                    Did Guidepost conduct any interviews of the
            Complainant, Johnny Hunt, or any other person related to the Complainant’s
            allegations against Johnny Hunt? If so, identify the date of each such interview; the
            location; the identities of all persons who participated or were otherwise present for the
            interview; the format (i.e., in person, telephonic, by video, etc.); whether the interview
            was recorded; whether notes, a transcript, or any other document memorializing the
            contents of the interview exist; and all other documents relating to such interview.

Response: Yes

 Interviewee     Date            Location      Participants   Format         Recorded?   Documents

 Complainant’s   February 11,                  Russell        Telephonic     No          Typed notes
 Husband         2022                          Holske Jr.

 Complainant’s   February 15,                  Russell        Telephonic     No          Typed notes
 Husband         2022                          Holske Jr.

 Complainant     Prior to                      Samantha       Telephonic     No          Handwritten
                 March 31,                     Kilpatrick                                notes
                 2022

 Complainant,    March 31,       Edenton, NC   Samantha       In person      No          Notes
 Complainant’s   2022                          Kilpatrick,
 Husband                                       Russell
                                               Holske Jr.

 Complainant     April 4, 2022                 Samantha       Telephonic     No          Notes
                                               Kilpatrick

 Complainant,    April 5, 2022                 Samantha       Telephonic     No          Typed notes
 Complainant’s                                 Kilpatrick,
 Husband                                       Russell
                                               Holske Jr.

 Plaintiff       April 26,       Branson, MO   Samantha       In person      No          Typed notes
                 2022                          Kilpatrick,
                                               Russell
                                               Holske Jr.

                 May 4, 2022                   Russ Holske    By video       No          Typed notes
                                               Jr.

                 May 5, 2022                   Samantha       By video       No          Typed notes
                                               Kilpatrick,
                                               Russ Holske
                                               Jr.

                 May 5, 2022                   Samantha       By video       No          Typed notes
                                               Kilpatrick,



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                                             Russ Holske
                                             Jr.

 Roy             May 9, 2022    Kennesaw,    Samantha       In person      No           Typed notes
 Blankenship                    GA           Kilpatrick,
                                             Russell
                                             Holske Jr.

 Complainant     May 10,                     Samantha       Telephonic     No           Typed notes
                 2022                        Kilpatrick

 Plaintiff       May 12,                     Samantha       By video       No           Typed notes
                 2022                        Kilpatrick,
                                             Russell
                                             Holske Jr.

 Complainant,    May 13,                     Samantha       Telephonic     No           Typed notes
 Complainant’s   2022                        Kilpatrick,
 Husband                                     Russell
                                             Holske Jr.

 Complainant     May 19,                     Samantha       Telephonic     No           Handwritten
                 2022                        Kilpatrick                                 notes

 Complainant     May 26,                     Samantha       Telephonic     No           No
                 2022                        Kilpatrick

 Complainant     June 1, 2022                Samantha       Telephonic     No           Handwritten
                                             Kilpatrick                                 notes




         INTERROGATORY NO. 3.                  Who was involved in the decision to include the
            Complainant’s allegations against Johnny Hunt in the Report? For each such person,
            identify that person’s relationship to Guidepost; the person’s title; and a description of
            the person’s role in making the decision.

Response: Guidepost objects to this interrogatory on the ground that the scope of the Report is set

forth in the Engagement Letter. Thus, the burden of responding to this interrogatory outweighs

any benefit, because Plaintiff already possesses the information requested.

         Notwithstanding the foregoing objection, and without waiver thereof, Guidepost responds

that Julie Myers Wood, Krista Tongring, Samantha Kilpatrick, Russell Holske Jr., and Anthony

Collura were involved in the decision to include Complainant’s allegations against Plaintiff in the

Report. Each of the foregoing persons’ title is set forth in Guidepost’s response to Interrogatory



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No. 1, with the exception of Anthony Collura, whose titles are Chief Operating Officer and Chief

Legal Officer.


       INTERROGATORY NO. 4.                 Describe the types of documents in Guidepost’s
          possession that relate to the Complainant’s allegations against Johnny Hunt. Include in
          your response whether such documents are in hardcopy or electronic format (including
          whether such documents include emails, text messages, instant messages such as Slack,
          video or audio recordings, etc.); the custodian of such documents; and where such
          documents are stored.

Response: Guidepost responds that the types of documents in Guidepost’s possession that relate

to the Complainant’s allegations against Plaintiff include interview reports and other paper and

electronic documents, emails, and other electronic communications. These documents are in

electronic format and/or hardcopy and are stored on Guidepost’s systems and/or its files.


       INTERROGATORY NO. 5.                   Identify the various methods used by Guidepost
          agents to communicate regarding the Report and its contents (for example, whether
          Guidepost agents used email, instant messaging, text messaging, or other electronic
          means for communicating). For each such method, include the name of the relevant
          platform (i.e., “Slack” for instant messaging; “Outlook” for email; etc.).

Response: Guidepost responds that the methods used by Guidepost agents to communicate

regarding the Report and its contents include email, text messages, other electronic

communications, and telephone calls.


       INTERROGATORY NO. 6.                   Does Guidepost use a document management system
          to store electronic documents? If so, describe the system and where documents relating
          to the Complainant’s allegations against Johnny Hunt are stored within that system,
          including all drafts of the Report.

Response: Guidepost objects to this interrogatory on the ground that information relating to drafts

of the Report containing changes solely to portions unrelated to Plaintiff’s claims are irrelevant to

Plaintiff’s claims. Thus, the burden of responding to this interrogatory with respect to such drafts

outweighs any benefit.



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       Notwithstanding the foregoing objection, and without waiver thereof, Guidepost responds

that it primarily uses Microsoft Teams to store electronic documents. Documents relating to

Complainant’s allegations against Plaintiff are primarily stored within Guidepost’s Microsoft

Teams system, as well as in attachments to emails and on individual computers.


       INTERROGATORY NO. 7.                  Did Guidepost distribute the final Report to anyone
          outside of Guidepost? If so, identify all recipients of the Report and the means by which
          such distribution occurred (e.g., via email, website link, hardcopy by mail, etc.).

Response: Yes. Consistent with the requirements in the Engagement Letter, Guidepost distributed

the final Report to the SBC Task Force via email.



                                             Respectfully submitted,

                                             s/ John R. Jacobson
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                                             Attorneys for Guidepost Solutions LLC

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                                          VERIFICATION

          I, Anthony M. Collura, am Chief Operating Officer and Chief Legal Officer at Guidepost,

a defendant in the above-entitled action. I have read the interrogatories served upon Guidepost

by Plaintiff Johnny M. Hunt and the foregoing Responses and Objections of Defendant

Guidepost Solutions LLC to Plaintiff Johnny M. Hunt’s First Set of Interrogatories, and know

the contents thereof.

          I have personal knowledge of the information set forth in the answers to the foregoing

interrogatories. I declare under 28 U.S.C. 1746 under penalty of perjury that the foregoing

answers to those interrogatories are true according to the best of my knowledge, information, and

belief.

          Executed on the 17th
                          ___ day of July, 2023.




                                               ______________________________
                                               Anthony M. Collura




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                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served by electronic
mail on the following:

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 Counsel for the Executive Committee of the
 Southern Baptist Convention

on this 17th day of July, 2023.

                                                      s/John R. Jacobson


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